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            Exhibit 25
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                                                                                      Brothers’ Bakery


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      Second Business Rises From Brothers’
      Bakery
      By U.S. Small Business Administration on September 26, 2014
      Category: Success Story

      In early 2007, brothers Hoover and Wilson Zuluaga saw an opportunity with a Long
      Island bakery that was struggling and about to close. Paisapan Bakery...




      In early 2007, brothers Hoover and Wilson Zuluaga saw an opportunity with a
      Long Island bakery that was struggling and about to close. Paisapan Bakery had
      been operating for a full year but had failed to gain popularity among the
      community. The Zuluaga brothers recognized the main cause was poor customer
      service and felt they could turn operations around.

      Although Hoover was a network security specialist and Wilson was an industrial
      engineer by trade, the Zuluagas were able to develop their entrepreneurial skills,
      change employee training, product quality and variety to get results within 18
      months. By 2010, the brothers had the bakery’s profits rising when they noticed a
      growing demand for Hispanic food specialties in their retail bakery.

      “We saw an increased in demand for specialties from Columbia, Peru and
      Ecuador so we started investigating importers and bringing in more and more
      products for our bakery,” explained Wilson.

      Together they capitalized on the business opportunity and developed HWZ
      Distributors, Inc. dba Latinfood USA, a second business distributing imported
      specialties from Central and South America. In only six months, Wilson convinced
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      a major product manufacturer in Colombia to sign an exclusive distribution and
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      importing rights agreement for the tri-state area. After intensive marketing efforts,
      Wilson has increased that manufacturer’s position in the market with a sales
      increase of almost 300 percent.

      Today, the company distributes to bodegas, bakeries and chain grocery stores
      across the tri-state area. Latinfood’s wide portfolio of products, ranging from
      canned and frozen foods to coconut and caramel candies, have also helped the
      company gain access to large distribution channels such as A&P, Supremo,
      Shoprite, Westernbeef, and others.

      The Zuluaga brothers have benefited from savvy business assistance from the
      Stony Brook Small Business Development Center (SBDC) since 2011. The SBDC
      has assisted Latinfoods through its international trade events and Hispanic-based
      market initiatives. With consistent 30% growth in sales, the retail bakery
      operations have grown to employ over 25 people and the import distribution
      division now employs 17. Wilson has also expanded the distribution business to
      include a line of frozen foods and added operations in Mexico. The company aims
      to become the most reliable importer for food specialty products from South and
      Central America by 2015.

      Wilson Zuluaga summarizes his entrepreneurial experience: “To be successful,
      you need to have a clear understanding of where you want to take the business, a
      laser-like focus to achieve it, and utilizing the tools available to you – such as the
      SBDC – who have proven to be my partners in my enterprise.”




      About the author


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